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                                                                    Michael Marchak
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                                                                    Olivia Salva
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                                                                        Raj Ajrawat


                                                                        Mike Fyall
                                                          Shannon Low
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                                                                    Pat Correa




                                                                    Stacia Conlon
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                                                                    Olivia Salva
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  [Purnima Kochikar]

  [Purnima Kochikar]




             [Moonlit
             Beshimov]
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  [Purnima Kochikar]

  [Michael
  Marchak]




               Tamzin Taylor




              [Tamzin Taylor]




              [Tamzin Taylor]




                                    Alasdair McMaster Ignacio Monereo




                       David Pons
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       [Daniel Dulitz]




          [Albert
          Reynaud]



        [Brooke Davis]



                                    [Mary Liz
                                    McCurdy]




         [Sarah Karam]                                              [Mary Liz
                                                                    McCurdy]


                                                [Nick Montaperto]



         [Ashraf         [Kirsten
         Hassan]         Rasanen]




                                     Steven
          Mingoo Kim Ken Liu Tepper




        Kris     Cheryl Jones
        Resellmo




       [Darryl Huie]
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        [Darryl Huie]




       [Jamie Adams]



                        Jiwoong Lee


         [Jihyun Chung]




       [David Yin]




       [David Yin]




          Kanan Rai




          Evan Kojima




          Evan Kojima
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                 [Chongsa Kim]




   [Michael
   Marchak]
                                                          Kirsten
                                                          Rasanen
                                          Dmitri
                                          Martynov




  [Purnima
  Kochikar]

  [Michael
  Marchak]




                           Niko Schroer




                 Albert Reynaud




              [Iky
              Sandorffy]

              [Iky
              Sandorffy]


                                                     Niko Schroer




               [Jakob Kalbfell]
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       [David Pons]

                                                                                         David Pons




        [Brooke Davis]



                                                        [Mary Liz                        [Brooke Davis]
                                                        McCurdy]



                                                                    [Mary Liz McCurdy]



                                                     [Parul Soi]




         Carol Soler




       Kris     Kenneth Lui        Kei Kawabata
       Resellmo




        [Mingjoo Kim, Cheryl Jones, Kris Resellmo]




        [Cheryl Jones]




        [Kenneth Lui]




       Kris     Kenneth Lui
       Resellmo




        Kenneth Lui       Steven Tepper
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         Kenneth Lui




        [Connie
        Wilson]




        [Guy
        Charusadhirakul]




        [Guy
        Charusadhirakul]




       [Kanan Rai]



        [Sharan Tulsiani]
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              [Evan Kojima]




             [Evan Kojima]




  [Michael Marchak]




            [Dan Song]




             [Chongsa Kim]

            [Moonlit
            Beshimov]

              [Adam Gutterman]

                                                                     [Michael Marchak]



              [Andreas Preuer]




           [Dan Song]
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        [Ashraf
        Hassan]




        [Sarah Thomson]




        [Eleanor Park-
        Otsu]




      [Moonlit
      Beshimov]




       [Moonlit
       Beshimov]




        [Tobias Knoke, Alexey
        Kokin]

                                [Ignacio Monereo, Alexey Sobolev]
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       [Tobias Knoke, Dmitri
       Martynov]


         [Tobias Knoke, Andreas Preuer]




        [Tobias
        Knoke]




            [Tamzin
            Taylor]

         [Ignacio Monereo]




        [Alasdair McMaster]




       [Daniel Dulitz]




       [Daniel Dulitz]




                                                [Dan Song]




         [Kris Resellmo, Steven
         Tepper]




                    [Moonlit
                    Beshimov]
       [Kenneth Lui]
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       [Jamie
       Adams]




       [Jiwoong Lee]




       [Jamie
       Adams]




       [Guy
       Charusadhirakul]



       [Guy
       Charusadhirakul]




       [Chongsa Kim]
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              [Chongsa Kim]




   [Michael
   Marchak]




              [Alexey Kokin]




              [Dmitri
              Martynov]




               [Dmitri
               Martynov]




               [Carol Soler]




               [Carol Soler]




               [David Pons]




              [David Pons]

                               [Daniel
                               Dulitz]
Case 3:21-md-02981-JD Document 888-34 Filed 12/21/23 Page 25 of 40




       [Sarah Karam]



        [Mary Liz
        McCurdy]



        [Jeena Merina]




       [Ken Liu]




       [Ken Liu]




        [Kanan Rai]



        [Kanan Rai]



        [Kanan Rai]



        [Sharan Tulsiani]



        [Sharan Tulsiani]




        [Sharan Tulsiani]
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  [Michael Marchak]




  [Michael Marchak, Andreas Preuer]




  [Michael
  Marchak]




              [Carol Soler]




             [Daniel Dulitz]




               [David Pons]




              [Brooke Davis]
Case 3:21-md-02981-JD Document 888-34 Filed 12/21/23 Page 27 of 40




                [Brooke Davis]




                [Mary Liz
                McCurdy]




              [Connie
              Wilson]
              [Connie
              Wilson]




                [Darryl Huie]




              [Kris
              Resellmo]




  [Purnima
  Kochikar]


               [Parul Soi]
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               [Sarah Karam]




              [Alexey Kokin, Tamzin
              Taylor]




               [Brooke Davis]




               [Brooke Davis]




  [Purnima
  Kochikar]




  [Purnima
  Kochikar]

   [Michael
   Marchak]




              [Alexey Kokin]




                                [Adi
                                Haddad]
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      [Alexey Kokin]




        [Niko Schroeer]




        [Niko Schroeer]




       [Jakob Kalbfell]



      [Iky
      Sndorffy]




       [Steven Muller]




        [Sarah Karam]




        [Nick Montaperto]




      [Jeena James]




       [David Yin]




       [David Yin]
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       [Darryl Huie]




        [Cheryl Jones]




       [Kris
       Resellmo]




       [Chongsa Kim]




        [Tobias Knoke]



      [Dmitri Martinov, Alexey
      Sobolev]


        [Alexey
        Kokin]




       [Niko Schroer]




        [Brooke Davis]
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           [Brooke Davis]




            [Darryl Huie]




           [Darryl Huie]




           [Kris
           Resellmo]

           [Kris
           Resellmo]




[Michael
Marchak]
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  [Tobias Knoke]




  [Brooke Davis]




  [Brooke Davis]



  [Brooke Davis]
  [Brooke Davis]
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  [Ricky
  Wong]


  [Darryl Huie, Andreas Preuer]
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  [Jamie Adams]



  [Jamie Adams]




             [Jamie Adams]
             [Jiwoong Lee]


  [Evan Kojima]



  [Evan Kojima]




  [Evan Kojima]




   [Chongsa Kim]




   [Chongsa Kim]




   [Kris Resellmo, Cheryl Jones]



  [Kenneth Lui]




   [Kei Kawabata]




   [Kenneth Lui]


   [Mingoo Kim]



   [Kenneth Lui]
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  [Kenneth Lui]




  [Carol Soler]




   [Brooke
   Fesperman]


    [Brooke
    Fesperman]

   [Brooke
   Fesperman]

  [Brooke
  Fesperman]

  [Mary Liz
  McCurdy]


                                                                         Mary Liz McCurdy
                                                          Ricky Singla
                                                          Connie Kim             Felix Hu
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   [Swarnesh Raj]




   [Darryl Huie]
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  [Evan Kojima]




  [Evan Kojima]




   [Evan Kojima]


    [Chongsa Kim]




   [Kenneth Lui]




  [Gavin Kinghall
  Were]




   [Mingoo Kim]




   [Gavin Kinghall Were, Kris Resellmo, Lisa Vu,
   Steven Tepper]




  [Gavin Kinghall Were,
  Kevin Liu]




    [Kenneth Lui]
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